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                              UNITED STATES BANKRUPTCY COURT
                                 DISTRICT OF MASSACHUSETTS

   In re:
   ROLAND PETER LEARY, JR.,                        Ch. 7
     Debtor                                        20-10282-FJB


                                                Order

MATTER:
Telephonic Hearing:
#60 Objection to Claim of Exemption, Objection to Discharge and Motion for Determination of the
Dischargeability of a Debt filed by Creditors Christopher and Amanda Corbin
#87 Reply filed by the Debtor

Telephonic hearing held on May 12, 2020. The matter before the Court has three parts: an
objection to claim of exemption, an objection to discharge, and a motion for determination of the
dischargeability of a debt.

The objection to claim of exemption does not specify the particular claims of exemption it objects
to or the basis for objection to each. On or before July 13, 2020, the objecting parties, Christopher
and Amanda Corbin, shall file an amended objection to claim of exemption that corrects these
deficiencies. If nothing further is filed, the objection to claim of exemption will be overruled.

The objection to discharge fails to identify the statutory bases in 11 U.S.C. § 727(a) for objecting to
discharge and fails to specify the facts that support each basis for objection. In addition, an
objection to discharge must be filed as an adversary complaint under the Rules of Part VII of the
Federal Rules of Bankruptcy Procedure, but at present it is asserted only in a letter filed in the
bankruptcy case. On or before July 13, 2020, the objecting parties, Christopher and Amanda
Corbin, shall file a complaint under the Rules of Part VII that, among other things, specifies each
statutory basis on which it relies and the facts supporting each objection to discharge it asserts. If
nothing further is filed, the objection to discharge will be overruled.

The motion for determination of the dischargeability of a debt fails to identify the subsections in
11 U.S.C. § 523(a) on which it relies for a determination of exception from discharge, and it fails to
specify the facts on which, for each applicable subsection, such a determination would be
supported. In addition, a request to determine the dischargeability of a debt must be filed as an


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adversary complaint under the Rules of Part VII of the Federal Rules of Bankruptcy Procedure, but
at present it is asserted only in a letter filed in the bankruptcy case. On or before July 13, 2020, the
objecting parties, Christopher and Amanda Corbin, shall file a complaint under the Rules of Part
VII that, among other things, specifies each statutory basis on which it relies and, for each such
statutory basis, the facts supporting a determination of exception from discharge thereunder. If
nothing further is filed, the motion for determination of the dischargeability of a debt will be
denied.

                                                    By the Court,




                                                    Frank J. Bailey
                                                    United States Bankruptcy Judge

                                                    Dated: 5/13/2020




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